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Jefferson Parish Sheriff's Office

JEFFERSON PARISH SHERIFFS OFFICE
EXTRADITION / FUGITIVE SECTION

DATE  1.2/01:2022
TO: DEKALB COUNTY, GEORGIA
FROM: _DOUSE-CROCKENS, EXTRADIT. PFICER

NUMBER OF PAGES: TOTAL

REF: REID, RANDAL B/N

PLEASE RELEASE OUR HOLD ON THE ABOVE SUBJECT, THE DISTRICT ATTORNEY HAS REVIEWED THE
CASE AND HAS DECIDED NOT TO EXTRADITE THIS SUBJECT FROM YOUR AGENCY ON WARRANT NUMBER
F-21850-22. THE SUBIECT WARRANT HAS BEEN REFUSED AND WILL BE REMOVED FROM NCIC. DO NOT
HOLD FOR THIS AGENCY. FOR ANY FURTHER INFORMATION, PLEASE CONTACT OUR DISTRICT

ATTORNEY’S OFFICE AT 504-368-1020
THANKS FOR ALL OF YOUR ASSISTANCE

CONTACT PERSON: EXTRADITION SECTION
GRETNA, JA. 70053

PHONE: 504-349-5663
FAX: 504-363-5627

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COST TO YOU. ORs. . Crk

Jefferson Parish Sheriff's Office - 1233 Westbank Expressway - Harvey, LA 70058

PLAINTIFF'S
EXHIBIT

—29-

Revised: 9/7/17
